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                                          #:1354


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 8         Attorneys for the United States
 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
11                            UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                        No. CR 2:24-cr-00091-ODW
14               Plaintiff,                           UNOPPOSED EX PARTE APPLICATION
15                      v.                            TO FILE SUR-REPLY IN OPPOSITION
                                                      TO DEFENDANT’S MOTION TO
16   ALEXANDER SMIRNOV,                               DISQUALIFY THE SPECIAL COUNSEL
17               Defendant.                           AND DISMISS THE INDICTMENT IN
                                                      THIS CASE
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19                                                    Hearing Date:    August 26, 2024
                                                      Hearing Time:    11:30 a.m.
20                                                    Location:        Courtroom of the Hon.
21                                                                     Otis D. Wright II
22
           The United States, by and through its counsel of record, hereby files this unopposed
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     ex parte application for an order permitting the government to file a sur-reply in opposition
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     to the defendant’s motion to disqualify the Special Counsel and dismiss the indictment in
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     this case, ECF 93. The defendant filed his motion on July 15, 2024, and the government
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     filed a response in opposition on August 5, 2024, ECF 99. On August 9, 2024, the
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     defendant filed a reply in support of his motion, in which he raised a new argument that
28                UNITED STATES’ UNOPPOSED EX PARTE APPLICATION TO FILE SUR-REPLY
                                   CASE NO. 2:24-CR-00091-ODW
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 1   he had not included in his motion. ECF 102. Specifically, the defendant argued for the first
 2   time in his reply brief that the indictment in this case exceeds the scope of Special Counsel
 3   Weiss’s Appointment Order. Id. at 1-5.
 4         The government seeks leave to file a short sur-reply to address this argument. See
 5   Local Rule 7-10. “A decision to grant or deny leave to file a sur-reply is generally
 6   committed to the sound discretion of the court.” Tounget v. Valley-Wide Recreation &
 7   Park Dist., No. EDCV 16-88-JGB, 2020 WL 8410456, at *2 (C.D. Cal. Feb. 20, 2020).
 8   “Good cause to permit a party to file a sur-reply may exist where,” as here, “the movant
 9   raises new arguments in its reply brief.” McGechie v. Atomos Ltd., No. 2:22-CV-01812-
10   DJC-DB, 2023 WL 2918681, at *1 (E.D. Cal. Apr. 12, 2023) (citation omitted). Because
11   the defendant raised the argument regarding the scope of the Appointment Order for the
12   first time in his reply brief, the government has not yet had the opportunity to respond to
13   it. Granting the government leave to file the sur-reply would benefit the Court’s review of
14   the defendant’s motion by allowing the government to fully address all of the issues raised
15   by the defendant.
16         The government’s application is based on the attached declaration of Senior
17   Assistant Special Counsel Derek E. Hines. Pursuant to Local Rule 17-19, on August 14,
18   2024, government counsel informed the defendant that it intended to file this ex parte
19   application seeking leave to file a sur-reply and requested the defense’s position. Defense
20   counsel stated, “We do not oppose you filing a Surreply, provided that you inform the
21   Court that we do not agree with your rationale for the need to file a surreply.”
22         Accordingly, the Court should grant the government leave to file its sur-reply.
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 1   Dated: August 14, 2024                  Respectfully submitted,
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                                             DAVID C. WEISS
 3                                           Special Counsel
 4
                                             /s/
 5                                           LEO J. WISE
                                             Principal Senior Assistant Special Counsel
 6
 7                                           DEREK E. HINES
 8                                           Senior Assistant Special Counsel

 9                                           SEAN F. MULRYNE
10                                           CHRISTOPHER M. RIGALI
                                             Assistant Special Counsels
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12                                           United States Department of Justice

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 1                          DECLARATION OF DEREK E. HINES
 2         I, Derek E. Hines, declare as follows:
 3         1.     I am Senior Assistant Special Counsel, and I represent the government in
 4   United States of America v. Alexander Smirnov, No. CR 2:24-cr-00091-ODW.
 5         2.     I make this declaration in support of the government’s ex parte application
 6   for an order permitting the government to file a sur-reply in opposition to the defendant’s
 7   motion to disqualify the Special Counsel and dismiss the indictment in this case, ECF 93.
 8         3.     For the first time in his reply brief, the defendant raised a new argument about
 9   Special Counsel Weiss’s appointment, contending that this prosecution exceeds the scope
10   of his Appointment Order. ECF 102 at 1-5.
11         4.     Because this argument was raised for the first time in reply, the government
12   has not yet had the opportunity to respond to it. Granting the government leave to file the
13   sur-reply would benefit the Court’s review of the defendant’s motion by allowing the
14   government to fully address all of the issues raised by the defendant.
15         5.     On August 14, 2024, I contacted defense counsel regarding the defendant’s
16   position on the government’s ex parte application for leave to file a sur-reply. See Local
17   Rule 17-19. Defense counsel stated, “We do not oppose you filing a Surreply, provided
18   that you inform the Court that we do not agree with your rationale for the need to file a
19   surreply.”
20         6.     A true and correct copy of that email is attached hereto as Exhibit 1.
21         I declare under penalty of perjury under the laws of the United States that the
22   foregoing is true and correct. Executed this 14th day of August, 2024, in the
23   Commonwealth of Pennsylvania.
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 1
                                             /s/
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                                             DEREK E. HINES
 3                                           Senior Assistant Special Counsel
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